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                           No. 2023-2413
__________________________________________________________________

IN THE UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
 __________________________________________________________________

     CARBON ACTIVATED TIANJIN CO., LTD., CARBON ACTIVATED
                       CORPORATION,

                          Plaintiffs-Appellants,

 DATONG JUQIANG ACTIVATED CARBON CO., LTD., DATONG JUQIANG
  ACTIVATED CARBON USA, LLC, NINGXIA GUANGHUA CHERISHMET
   ACTIVATED CARBON CO., LTD., DATONG MUNICIPAL YUNGUANG
                ACTIVATED CARBON CO., LTD.,

                                Plaintiffs

                                    v.

         UNITED STATES, CALGON CARBON CORPORATION,
                    NORIT AMERICAS, INC.,

                        Defendants-Appellees.
__________________________________________________________________

         Appeal from the United States Court of International Trade in
         Consol. Court No. 22-cv-00017, Chief Judge Mark A. Barnett
__________________________________________________________________

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                      STATEMENT OF RELATED CASES

      Pursuant to Rule 47.5, counsel for defendant-appellee the United States

states that she is unaware of any other appeal in or from these actions that

previously was before this Court, or any other appellate court, under the same or

similar title. Defendant-appellee’s counsel is also unaware of any case pending in

this or any other court that may directly affect or be affected by the Court’s

decision in this appeal.

      At the same time, counsel for the United States is aware of an action before

this Court that counsel understands is not “related” within the meaning of the

Court’s rule, but involves an issue similar to one raised in this appeal (in the

context of that case’s separate administrative record). In Carbon Activated Tianjin

Co. v. United States, No. 21-00131 (Ct. Int’l Trade), plaintiffs-appellants

challenged the Department of Commerce’s determination in the twelfth

administrative review of the antidumping duty order on certain activated carbon

from the People’s Republic of China. This case is currently on appeal in Carbon

Activated Tianjin Co. v. United States, No. 2023-2135 (Fed. Cir.).
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                        STATEMENT OF THE ISSUES

      1.    Whether the Department of Commerce’s determination that Malaysia

was the only “significant producer” of subject merchandise pursuant to 19 U.S.C.

§ 1677b(c)(4) among the six potential surrogate countries was supported by

substantial evidence and in accordance with law.

      2.    Whether Commerce’s determination to base financial ratios in the

surrogate value calculation on the financial statements of two Malaysian producers

of subject merchandise — Century Chemical Works Sendirian Berhad (Century

Chemical) and Bravo Green Sdn. Bhd. (Bravo Green) — was supported by

substantial evidence and in accordance with law.

      3.    Whether Commerce’s valuation of carbonized materials based on

Malaysian import data under Harmonized Tariff Schedule (HTS) 4402.90.1000

(“Coconut Shell Charcoal”) was supported by substantial evidence and in

accordance with law.

      4.    Whether Commerce’s valuation of coal tar based on Malaysian import

data under HTS 2706.00 (“Mineral Tars, Including Reconstituted Tars”) was

supported by substantial evidence and in accordance with law.

      5.    Whether Commerce’s valuation of hydrochloric acid (HC1) based on

Malaysian import data under HTS 2806.10 (“Hydrogen Chloride (hydrochloric

acid)”) was supported by substantial evidence and in accordance with law.
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      6.    Whether Commerce’s valuation of steam based on Malaysian import

data under HTS 2711.11, which covers natural gas in liquid form, was supported

by substantial evidence and in accordance with law.

      7.    Whether Commerce’s determination to value ocean freight on the

basis of Maersk Line freight charge quotes was supported by substantial evidence

and in accordance with law.

                           STATEMENT OF THE CASE1
      This appeal concerns Commerce’s final results in the thirteenth

administrative review of the antidumping duty order on certain activated carbon

from the People’s Republic of China. See Certain Activated Carbon from the

People’s Republic of China, 86 Fed. Reg. 73,731 (Dep’t of Commerce Dec. 28,

2021) (Final Results) (Appx7969-7970), and the accompanying Issues and

Decision Memorandum (IDM) (Appx7887-7937).

      Plaintiffs-appellants Carbon Activated Tianjin Co., Ltd. (Carbon Tianjin)

and Carbon Activated Corporation (Carbon Activated) (collectively, CAT) appeal

the judgment of the United States Court of International Trade sustaining

Commerce’s determinations: (1) that Malaysia was the only “significant producer”



      1
         Pursuant to Federal Rule of Appellate Procedure 28(b) and Federal Circuit
Rule 28(b), we include statements of the case and facts because we disagree with
plaintiffs-appellants’ statement of the case and facts.

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of activated carbon among the six potential surrogate countries; (2) to base

financial ratios in the surrogate value calculation on the financial statements of

Malaysian producers Century Chemical and Bravo Green; (3) to value carbonized

materials based on Malaysian import data under HTS 4402.90.1000 (“Coconut

Shell Charcoal”); (4) to value coal tar based on Malaysian import data under HTS

2706.00 (“Mineral Tars, Including Reconstituted Tars”); (5) to value hydrochloric

acid (or HC1) based on Malaysian import data under HTS 2806.10 (“Hydrogen

Chloride (hydrochloric acid)”); (6) to value steam based on Malaysian import data

under HTS 2711.11, which covers natural gas in liquid form; and (7) to value

ocean freight on the basis of Maersk Line freight charge quotes. Carbon Activated

Tianjin Co., Ltd. v. United States, 650 F. Supp. 3d 1354 (Ct. Int’l Trade 2023)

(Appx7-50).

                             STATEMENT OF FACTS
I.    Legal Framework For Surrogate-Country And Surrogate-Value
      Selection

      The antidumping duty statute is a remedial scheme that applies duties to

foreign goods sold, or likely to be sold, in the United States “at less than its fair

value.” 19 U.S.C. § 1673. Commerce is responsible for investigating whether

there have been, or are likely to be, sales at less-than-fair value. Id. § 1673(1).

When determining that there have been such sales, Commerce issues an

antidumping order. Id.

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      Once Commerce issues an antidumping duty order (see id. §§ 1673a,

1673b(b), (d), 1673d(a), (c)), it conducts administrative reviews, such as the

subject review, to determine the amount of duties owed. Id. § 1675(a)(1), (2)(A).

In so doing, Commerce calculates a “dumping margin” for each entry of subject

merchandise under review. Id. § 1675(a)(2)(A)(ii). A dumping margin is the

amount by which the “‘normal value’ (the price a producer charges in its home

market) exceeds the ‘export price’ (the price of the product in the United States) or

‘constructed export price.’” U.S. Steel Corp. v. United States, 621 F.3d 1351, 1353

(Fed. Cir. 2010) (citing 19 U.S.C. § 1677(35)(A)).

      In antidumping proceedings involving nonmarket economy countries such as

China, Commerce calculates the normal value of the subject merchandise based on

surrogate values available in a comparable market economy. Jiaxing Bro.

Fastener Co. v. United States, 822 F.3d 1289, 1292 (Fed. Cir. 2016) (citing 19

U.S.C. § 1677b(c)(1)). Commerce calculates the surrogate values by valuing

certain “factors of production” such as raw materials used in producing the

merchandise in a comparable market economy. Id. (citing 19 U.S.C.

§ 1677b(c)(4)). “In essence, Commerce seeks to construct a hypothetical normal

value for the merchandise that is uninfluenced by the nonmarket economy.” Id. at

1292-93 (citing Nation Ford Chem. Co. v. United States, 166 F.3d 1373, 1375

(Fed. Cir. 1999) & 19 U.S.C. § 1677(18)(A) (defining “nonmarket economy


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country”)). To do this, Commerce selects a market economy country as the

primary surrogate country. Id. at 1293 (citing 19 C.F.R. § 351.408(c)(2)). The

process of selecting a market economy country to value the factors of production is

referred to as surrogate country selection. Id. (citing Dorbest Ltd., 604 F.3d at

1368).

      Pursuant to 19 C.F.R. § 351.408(c)(2), generally, Commerce values all

factors of production in a single surrogate country. Commerce follows a four-step

process to select a surrogate country:

             (1) the Office of Policy (“OP”) assembles a list of
             potential surrogate countries that are at a comparable
             level of economic development to the {non-market
             economy} country; (2) Commerce identifies countries
             from the list with producers of comparable merchandise;
             (3) Commerce determines whether any of the countries
             which produce comparable merchandise are significant
             producers of that comparable merchandise; and (4) if
             more than one country satisfies steps (1)–(3), Commerce
             will select the country with the best factors data.

Jiaxing Bro. Fastener Co., 822 F.3d at 1293 (cleaned up) (quoting Import Admin.,

U.S. Dep’t of Commerce, Non-Market Economy Surrogate Country Selection

Process, Policy Bulletin 04.1 (2004), http://enforcement.trade.gov/policy/bull04–

1.html (last visited March 10, 2024)) (Policy Bulletin 04.1)).

      The statute requires Commerce to value the factors of production through

“the best available information” in the market economy. Id. (citing 19 U.S.C.

§ 1677b(c)(1)). This Court has held that Commerce possesses the discretion to

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determine what constitutes “the best available information” because this term is not

defined by statute. Id. (citing QVD Food Co. v. United States, 658 F.3d 1318,

1323 (Fed. Cir. 2011)). “The question here is not whether the information

Commerce used was the best available, but rather whether a reasonable mind could

conclude that Commerce chose the best available information.” Id. at 1300-01

(citation omitted).

      In selecting its surrogate values, Commerce generally prefers publicly-

available and “non-proprietary information from producers of identical or

comparable merchandise in the surrogate country.” 19 C.F.R. § 351.408(c)(1), (4).

“Commerce generally selects, to the extent practicable, surrogate values that are

publicly available, are product-specific, reflect a broad market average, and are

contemporaneous with the period of review.” Jiaxing Bro. Fastener Co., 822 F.3d

at 1293 (quoting Qingdao Sea-Line Trading Co. v. United States, 766 F.3d 1378,

1386 (Fed. Cir. 2014)). Commerce will “only resort to a secondary surrogate

country if data from the primary surrogate country are unavailable or unreliable.”

Jiaxing Bro. Fastener Co. v. United States, 11 F. Supp. 3d 1326, 1332-33 (Ct. Int’l

Trade 2014) (citations omitted), aff’d, Jiaxing, 822 F.3d 1289.

      Using the best available information, Commerce “shall {value the factors of

production} to the extent possible . . . in one or more market economy countries

that are — (A) at a level of economic development comparable to that of the


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nonmarket economy country, and (B) significant producers of comparable

merchandise.” Id. (quoting 19 U.S.C. § 1677b(c)(4)(A)-(B) (emphases and

bracketing added by the Court).

      Neither the statute nor Commerce’s regulations provide further guidance on

the definition of “significant producer.” See, e.g., Fresh Garlic Producers Ass’n v

United States, 121 F. Supp. 3d 1313, 1338-39 (Ct. Int’l Trade 2015). In light of

this statutory and regulatory gap, Commerce looks to Policy Bulletin 04.1 related

to surrogate-country selection for guidance in defining “significant producer.”

Relying on the relevant legislative history, Policy Bulletin 04.1 provides that

“‘significant producer’ includes any country that is a ‘significant net exporter.’”

Policy Bulletin 04.1 at 1. Policy Bulletin 04.1 also defines “net exporter” as “a

country whose exports exceed its imports.” Id. at 5 n.1. Policy Bulletin 04.1

further provides, in pertinent part:

             The extent to which a country is a significant producer
             should not be judged against the {subject non-market
             economy} country’s production level or the comparative
             production of the five or six countries {that are
             considered potential surrogate countries}. Instead, a
             judg{ }ment should be made consistent with the
             characteristics of world production of, and trade in,
             comparable merchandise (subject to the availability of
             data on these characteristics). Since these characteristics
             are specific to the merchandise in question, the standard
             for “significant producer” will vary from case to case.

Id. at 3 (emphasis in the original).


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      Based on its preference to use surrogate values from a single surrogate

country pursuant to 19 C.F.R. § 351.408(c)(2), when several countries are both at a

level of economic development comparable to the nonmarket economy country

and significant producers of comparable merchandise, Commerce evaluates the

reliability and completeness of the data in the similarly-situated surrogate

countries, and generally selects the one with the best data as the primary surrogate

country. Jiaxing, 822 F.3d at 1294 (citing Policy Bulletin 04.1).

II.   Administrative Background

      A.     Initiation Of The Thirteenth Administrative Review And
             Surrogate Value Selection

      In April 2007, Commerce published the antidumping duty order covering the

subject merchandise. Certain Activated Carbon from the People’s Republic of

China, 72 Fed. Reg. 20,988 (Dep’t of Commerce Apr. 27, 2007) (notice of order)

(order). In June 2020, Commerce initiated the subject review. See Initiation of

Antidumping and Countervailing Duty Administrative Reviews, 85 Fed. Reg.

35,068 (Dep’t of Commerce June 8, 2020). Commerce selected plaintiff-appellant

Carbon Tianjin, as well as Datong Juqiang Carbon Activated Co., as mandatory

respondents for individual examination. Appx6887.

      On January 19, 2021, Commerce requested comments from interested

parties on Commerce’s list of economically comparable countries, surrogate value

country selection, and surrogate value data. Appx6895. Commerce identified
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Brazil, Malaysia, Mexico, Romania, Russia, and Turkey (collectively, OP List

Countries) as economically comparable countries. Appx6896. Petitioners and

mandatory respondents submitted comments on economically comparable

countries on February 11, 2021, and surrogate value comments on March 4, 2021.

Appx6895. In their surrogate country comments, CAT and the other mandatory

respondent stated that, of the six OP List Countries, only Malaysia was a net

exporter of activated carbon in terms of both quantity and value. Appx6896 (citing

Appx917-918, Appx1193).

      B.    Preliminary Results

      On June 28, 2021, Commerce published the Preliminary Results,

determining that certain activated carbon from China was sold in the United States

at less than normal value during the period of review. See Certain Activated

Carbon from the People’s Republic of China, 86 Fed. Reg. 33,988 (Dep’t of

Commerce June 28, 2021) (Preliminary Results) (Appx7374-7378), and

accompanying Preliminary Decision Memorandum (June 21, 2021) (PDM)

(Appx6885-6916). Commerce preliminarily selected Malaysia as the primary

surrogate country. Appx6902. Commerce found that all six OP List Countries met

the requirement for economic comparability, and that the record evidence

demonstrated Malaysia to be the only significant producer of comparable

merchandise because Malaysia was the only net exporter of activated carbon


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during the period of review. Appx6899-6901. Further, Commerce found that

Malaysia had reliable and usable data to value all factors of production and to

calculate surrogate financial ratios. Appx6902. Thus, Commerce found that

Malaysia satisfied the statutory requirements under 19 U.S.C. § 1677b(c)(4) to be

selected as the primary surrogate country to value the respondents’ factors of

production. Id.

      Commerce calculated normal value using surrogate values for material

inputs primarily based on Malaysian import statistics published in the Global Trade

Atlas (GTA). Appx6912; Appx6921. Commerce also calculated surrogate

financial ratios using the financial statements of two Malaysian producers of

activated carbon, Century Chemical and Bravo Green. Appx6915-6916. For

valuing international freight charges, Commerce relied on ocean freight quotes

from Maersk for transportation between Tianjin, China, and various U.S. ports,

because these rates covered the entire period of review. Appx7929; Appx6925.

      C.     Final Results

      On December 28, 2021, Commerce published the Final Results in which it

continued to find that Malaysia was the only significant producer of activated

carbon and continued to find that it was appropriate to rely on financial statements

from Malaysia in calculating surrogate financial ratios. 86 Fed. Reg. at 73,371;

Appx7913-7914. Commerce also continued to value factors of production using


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Malaysian imports under the HTS subheadings used in the Preliminary Results,

and to value the mandatory respondents’ ocean freight expenses using the Maersk

data. Appx7918, Appx7925-7935.

III.   Trial Court Proceeding

       On appeal to the Court of International Trade, CAT and the other mandatory

respondent challenged Commerce’s significant-producer determination and seven

of its surrogate-value selections. In July 2023, the trial court sustained

Commerce’s determination that Malaysia was the only significant producer of

activated carbon among the six OP List Countries. Carbon Activated Tianjin Co.,

650 F. Supp. 3d at 1364. The trial court also held that Commerce’s surrogate-

value selections to value financial ratios, carbonized material, coal tar,

hydrochloric acid, steam, ocean freight, and bituminous coal were supported by

substantial evidence. Id. at 1364-1376. On the same day, the Court entered

judgment in favor of the United States. Appx5-6. This appeal followed,

challenging all Commerce’s determinations except its determinations related to

bituminous coal.

                       SUMMARY OF THE ARGUMENT

       The Court should affirm the trial court’s judgment sustaining Commerce’s

determination that Malaysia was a significant producer of comparable

merchandise, and sustaining Commerce’s surrogate-value determinations related to


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the valuations of financial ratios, carbonized material, coal tar, hydrochloric acid,

steam, and ocean freight. CAT has failed to identify any trial court error. Rather,

CAT’s challenges are not supported by the record or governing law, and reflect

nothing more than disagreement with Commerce’s judgement calls in weighing the

record evidence in an area in which the agency possesses broad discretion.

      First, CAT contends that Commerce unlawfully relied exclusively on the

net-producer criterion in determining that Malaysia was the only significant

producer of subject merchandise. CAT misreads the record. In addition to its net-

exporter finding, Commerce’s significant-producer determination was based on its

comparative analysis of all the financial statements on the record, which

established that only the financial statements of the Malaysian companies

demonstrated that their principal business activity was the manufacture and sale of

activated carbon.

      CAT also contends that Commerce’s significant-producer analysis was

flawed because the agency failed to consider that Romania offered “superior” data.

But this Court has recognized that Policy Bulletin 04.1 provides that “{d}ata

{c}onsiderations” only come into play “if more than one country has survived the

selection process to this point” related to comparable merchandise and significant

producer. Because only Malaysia satisfied these criteria, Commerce was not

required to turn to data considerations.


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      In the highly discretionary area of surrogate-value selection, CAT challenges

Commerce’s selection of surrogate financial ratios, the surrogate valuation of four

activated-carbon inputs — carbonized material, coal tar, hydrochloric acid, and

steam, as well as the selection of surrogate ocean freight charges. In focusing on

the imperfections of Commerce’s surrogate value selections, CAT fails to

recognize that Commerce’s selections need not be perfect under the governing

standard. CAT’s arguments in favor of alternative datasets are not supported by

law or the record, but merely reflect disagreements with Commerce’s lawful

exercise of its discretion to weigh the evidence. Accordingly, the Court should

affirm the trial court’s judgment in its entirety.

                                    ARGUMENT

I.    Standard Of Review

      The Court applies the same standard of review that was applied by the trial

court. Dupont Teijin Films USA, LP v. United States, 407 F.3d 1211, 1215 (Fed.

Cir. 2005). Accordingly, the Court will uphold Commerce’s determination “unless

it is unsupported by substantial record evidence or is not in accordance with the

law.” Id. (citing 19 U.S.C. § 1516a(b)(1)(B)(i)); see also United States v. Eurodif,

555 U.S. 305, 316 n.6 (2009) (“The specific factual findings on which

{Commerce} relies . . . are conclusive unless unsupported by substantial

evidence.”).


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      While Commerce must defend its surrogate choices, an interested party

arguing that data is aberrational or unreliable bears the burden of supporting its

argument with sufficient evidence. See Ancientree Cabinet Co. v. United States,

532 F. Supp. 3d 1241, 1254 (Ct. Int’l Trade 2021) (citing QVD Food Co., 658 F.3d

at 1324 (recognizing that when there is insufficient evidence to determine certain

data aberrational or unreliable, Commerce has no basis for rejecting the data).

“The burden of creating an adequate record lies with interested parties and not with

Commerce . . . {;} {this} burden on interested parties stems from the fact that the

International Trade Administration, the relevant agency within Commerce, has no

subpoena power.” Nan Ya Plastics Corp. v. United States, 810 F.3d 1333, 1338

(Fed. Cir. 2016) (cleaned up).

      The data that Commerce relies on need not be perfect. Jiaxing, 822 F.3d at

1301 (citing Home Meridian Int’l. Inc. v. United States, 772 F.3d 1289, 1296 (Fed.

Cir. 2014)). Nor is Commerce required to duplicate the precise experience of the

manufacturer in the non-market economy. Nation Ford, 166 F.3d at 1377 (cleaned

up). Commerce “need not prove that its methodology was the only way or even

the best way to calculate surrogate values for factors of production as long as it

was a reasonable way.” Coalition for the Preservation of Am. Brake Drum and

Rotor Aftermarket Mfr. v. United States, 44 F. Supp. 2d 229, 258 (Ct. Int’l Trade

1999).


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II.   Commerce’s Determination That Malaysia Was The Only “Significant
      Producer” Of Activated Carbon Was Supported By Substantial
      Evidence And Otherwise Lawful

      CAT raises several challenges to Commerce’s significant-producer

determination, all of which lack merit. See CAT Br. at 14-26.

      A.    The Trial Court Did Not Err In Sustaining Commerce’s
            Determination

      Applying the guidance set forth in Policy Bulletin 04.1, Commerce

determined that only Malaysia was a net exporter of activated carbon among the

list of potential surrogate countries — both in terms quantity and value — during

the period of review. Appx7919 (citing Appx917-918, Appx1193). Specifically,

Commerce based its significant-producer determination on its examination of

import and export data published by the GTA (for Malaysia, Mexico, Russia,

Brazil and Turkey) and TDM (for Romania), which indicated that, of the six OP

List Countries, only Malaysia was a net exporter of activated carbon during the

period of review. Id. In fact, before Commerce, CAT and the other mandatory

respondent agreed that, of the OP List countries, only Malaysia was a net exporter

of activated carbon. Appx6901 (citing Appx917-918, Appx1193).

      In addition to its net-exporter finding, Commerce’s significant-producer

determination was informed by the financial statements on the record from two

Malaysian companies and one Romanian company. Appx7920 (citing Appx3708-

3790). Commerce found that only the Malaysian financial statements provided
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evidence of significant production of activated carbon in terms of both quantity

and value. Id.

      In sustaining Commerce’s significant-producer determination, the trial court

relied on both of Commerce’s findings related to this issue. In finding that

Malaysia was the only country on the OP List that that was a “net exporter,” the

trial court found that such “a metric . . . is both supported by Commerce’s policy

and indicative of Malaysia having produced sufficient activated carbon to ensure

that it exported more than it imported.” Carbon Activated Tianjin Co., 650 F.

Supp. 3d at 1364 (citing Appx7919-7920 & Policy Bulletin 04.1). The trial court

observed that, in addition to this metric, Commerce relied on financial statements

on the record to determine whether OP List countries were “significant

producers{,}” comparing the Malaysian financial statements to the Romcarbon

financial statement. Id. (citing Appx7920 & Appx6901). Commerce found that

the Romcarbon financial statement indicated that activated carbon was not

Romcarbon’s principal manufacturing activity and, thus, did not constitute

evidence of “significant production” of activated carbon in Romania. Id. (citing

Appx7920).

      B.     CAT Fails To Identify Trial Court Error

      In attempting to assign trial-court error, CAT relies on several misstatements

of the law governing the statutory “significant producer” element of 19 U.S.C.


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§ 1677b(c)(4), of the policy guidance Commerce relies on to interpret that element,

and of the record evidence. Specifically, CAT contends that Commerce’s

determination that only Malysia was a significant producer was unlawful because:

(1) Commerce considered only whether OP list countries were “net exporters” of

activated carbon in contravention of Policy Bulletin 04.1; (2) Commerce engaged

in a comparison of OP list countries in contravention of Policy Bulletin 04.1; (3)

Commerce could have determined that Romania was a significant producer based

on its exports alone; and (4) Policy Bulletin 04.1 required Commerce to consider

data quality before making its significant-producer determination. See CAT Br. at

11-26. CAT’s arguments lack merit.

      First, CAT contends that Commerce unlawfully determined Malaysia was a

significant producer because, upon finding that Malaysia was the only “net

exporter” of activated carbon during the period of review, the agency

“disregard{ed} financial statements from other countries . . . showing significant

exports during the {period of review} by other countries{.}” CAT Br. at 12-13;

see also id. at 21 (contending that Romania was unlawfully disqualified on this

basis). In determining that Malaysia was a “significant producer,” Commerce also

considered all the financial statements on the record, and found that only the

Malaysian financial statements provided evidence of significant production of

activated carbon. Appx7920 (citing Appx3708-3790).


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      Further, Commerce’s determination that Malaysia was a significant producer

based on net exports was lawful and supported by the administrative record.

Policy Bulletin 04.1 expressly provides that “‘significant producer’ includes any

country that is a ‘significant net exporter.’” Policy Bulletin at 1; see also id. at 3

(“‘significant producer’ could mean a country that is a net exporter, even though

the selected surrogate country may not be one of the world’s top producers”).

Policy Bulletin 04.1 also defines “net exporter” as “a country whose exports

exceed its imports.” Id. at 5 n.1. As the trial court explained, “Policy Bulletin 04.1

also lists examples of production levels that would make a country a ‘significant

producer,’ including being a ‘significant net exporter.’” Carbon Activated Tianjin

Co., 650 F. Supp. 3d at 1363 (citing Policy Bulletin 04.1 at 1 (discussing H.R. Rep.

No. 100-576, at 590 (1988) (Conf. Rep.))).

      As for CAT’s contention that Commerce unlawfully “disregarded record

evidence showing significant exports during the {period of review} by other

countries{ }” (see CAT Br. at 13), the agency was not required to base its

significant-producer determination on export volumes. Commerce has done so as

a proxy for domestic production in a previous review under this order only because

none of the countries in the OP List were net exporters of activated carbon.

Specifically, in the eleventh administrative review, the record contained the import

and export quantity and value data during the period of review for all six OP List


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Countries, which demonstrated that none of those countries were net exporters of

activated carbon. See Carbon Activated Tianjin Co. v. United States, Court No.

20-00007 (Ct. Int’l Trade), Remand Redet. at 8, ECF No. 68. Because world

production and trade data of comparable merchandise were not available on the

record of that administrative review, on remand, Commerce analyzed exports of

comparable merchandise from the six OP List Countries as a proxy for production

data. Id. at 13.

      On the record of this administrative review, however, there was no need for

Commerce to analyze exports of comparable merchandise from the six OP List

Countries as a proxy for production data because the agency was able to make a

net-exporter determination; Commerce found that the import and export data for

the six OP List Countries on the record established that solely Malaysia was a net

exporter of activated carbon among the OP List Countries — both in terms

quantity and value. Appx7919 (citing Appx917-918, Appx1193).

      CAT also contends that Commerce engaged in a “rigid application of the

‘net exporter’ test{,}” which it asserts “is contrary to the agency’s own policy and

practice” because Policy Bulletin 04.1 provides that “{t}he extent to which a

country is a significant producer should not be judged against the NME country’s

production level or comparative production of the five or six countries on the OP’s

surrogate country list.” CAT Br. at 16 (quoting Policy Bulletin 04.1); see also id.


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at 17, 23-24. But Commerce did not base its significant-producer finding on the

comparative production of the potential surrogate countries on the OP list. Rather,

as discussed above, Commerce determined that Malaysia was a significant

producer because it was the only net exporter of activated carbon among the list of

potential surrogate countries, and because only the financial statements of the

Malaysian companies demonstrated that their principal business activity was the

manufacture and sale of activated carbon. Appx7919 (citing Appx917-918,

Appx1193); Appx7920.

      CAT further contends that, based on Policy Bulletin 04.1, Commerce

erroneously disregarded the “superior” quality of the Romanian financial

statements in making its significant-producer determination. CAT Br. at 13-16.

CAT misreads Policy Bulletin 04.1. This Court has held that, under Policy

Bulletin 04.1, “{d}ata {c}onsiderations” only come into play “if more than one

country has survived the selection process to this point” related to comparable

merchandise and significant producer. Jiaxing, 822 F.3d at 1294 (citing Policy

Bulletin 04.1). Thus, once Commerce determined that Malaysia produced

comparable merchandise and was the sole OP List Country that was a significant

producer of activated carbon, Commerce lawfully concluded that it was not

required to provide further analysis on data availability and reliability. Appx6908,

Appx6909.


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      Even assuming that CAT were correct that Romania’s financial statements

constitute “superior” data, this Court and the trial court have previously rejected

CAT’s argument that Commerce is required to select the primary surrogate country

on this basis. Rather, in the eleventh administrative review, the trial court held

that, “{a}t most, these examples show that Commerce may consider the source of

financial ratios to determine the primary surrogate country, not that Commerce

must.” Carbon Activated Tianjin Co. v. United States, 547 F. Supp. 3d 1310, 1321

(Ct. Int’l Trade 2021); see also id. (“Indeed, Carbon Activated has not cited, and

this court cannot find, any authority indicating that Commerce must base the

selection of a primary surrogate country on the quality of financial data.”), aff’d,

No. 22-1298, 2023 WL 3166188, at *3-4 (Fed. Cir. May 1, 2023).

      Also without merit is CAT’s contention that, pursuant to Policy Bulletin

04.1, “the criterion of ‘significant producer of comparable merchandise’ is

generally emphasized only in those cases that ‘involve subject merchandise that is

unusual or unique” whereas in cases like this one in which the inputs are

unexceptional, “Commerce is required to apply a sliding scale and apply an

attenuated product requirement when examining potential surrogate countries.”

CAT Br. at 16-17. CAT appears to be misinterpreting a section of the Policy

Bulletin 04.1 entitled “Exceptions to the Sequencing Procedure.” Policy Bulletin

04.1 at 4. Although, generally, in the surrogate-country selection process,


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Commerce considers whether potential surrogate countries are economically

comparable to the non-market economy country at issue before turning to its

significant-producer determination, this Policy Bulletin 04.1 section recognizes an

exception to this sequencing whereby “it is more appropriated for {Commerce} to

address economic comparability only after the significant producer of comparable

merchandise requirement is met.” Id. (emphasis in the original). The Policy

Bulletin further explains that “{c}ases where particular emphasis on ‘significant

producer of comparable merchandise’ is warranted are generally those that involve

subject merchandise that is unusual or unique (with correspondingly unusual or

unique inputs or other unique aspects of the cost of production){.}” Id. CAT’s

interpretation of this section of the Policy Bulletin to somehow lessen the

significance of the “significant producer” element of 19 U.S.C. § 1677b(c)(4) in

this case is belied by the plain language of the section.

      Next, relying on Jacobi Carbons AB v. United States, 365 F. Supp. 3d 1323

(Ct. Int’l Tr. 2019), and Jacobi Carbons AB v. United States, 365 F. Supp. 3d 1344

(Ct. Int’l Tr. 2019), CAT contends that “{t}he Trade Court has previously rejected

Commerce’s fixation on the ‘net exporter’ criterion as the basis for selecting a

surrogate value.” CAT Br. at 17-18. CAT further contends that, in both cases, as

here, “Commerce improperly relied on net exports as a proxy for production.” Id.

at 24. Those cases are inapposite because, there, the trial court found Commerce’s


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net-producer analysis required further explanation. See Jacobi Carbons AB, 365 F.

Supp. 3d at 1333 (holding that Commerce failed to explain why it found that

Thailand was a significant producer based on its net export quantity of 1,172,897

kg given that the record also contained evidence that the Philippines and Indonesia

had net export quantities of 60,662,341 kg, and 11,112,825 kg, respectively); id.

(faulting Commerce for “declar{ing} all three countries to be significant producers

without addressing the disparities between their net export quantities”); see also

Jacobi Carbons AB, 365 F. Supp. 3d at 1350-51 (remanding because Commerce

determined that Thailand was a significant producer despite failing to satisfy either

of the agency’s stated metrics in that proceeding for evaluating whether a country

was a significant producer — being a net exporter or a major exporter to the United

States).

      In this case, however, Commerce found that Malaysia was a significant

producer for two reasons: based on record evidence that Malaysia was a net

exporter in terms of quantity and value and based on its analysis of the Malaysian

and Romanian financial statements on the record showing that only the Malaysian

companies were significant producers of activated carbon. Appx7919 (citing

Appx917-918, Appx1193). Based on Commerce’s comparison of the two

Malaysian financial statements to the Romcarbon financial statement, Commerce

found that activated carbon was not Romcarbon’s principal manufacturing activity


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and, thus, did not establish “significant production” of activated carbon in

Romania. Appx7920.

      Relying on remand proceedings related to the seventh and eighth

administrative reviews in Jacobi Carbons AB v. United States, 422 F. Supp. 3d

1308, 1311 (Ct. Int’l Trade 2019), and Jacobi Carbons AB v. United States, 422 F.

Supp. 3d 1318, 1321 (Ct. Int’l Trade 2019), CAT asserts that Commerce’s

selection of Malaysia as principal surrogate country in this case was equally

cursory and unsupported by substantial evidence as in those cases. CAT Br. at 19

& n.10. Neither of those decisions addressed surrogate country selection.

      CAT also misstates the Preliminary Results in contending that “the record

contains ‘direct evidence of production of identical, and therefore comparable

merchandise’ in Romania during the {period of review}.” CAT Br. at 22 (quoting

6901). The Preliminary Results made that statement in reference to Malaysia —

not Romania:

             Commerce preliminarily finds that Malaysia is the only
             country on the OP List Countries that is a significant
             producer of comparable merchandise pursuant to section
             773(c)(4)(B) of the Act, as Malaysia is the only net
             exporter among the OP List Countries, and provides
             more direct evidence of production of identical, and
             therefore, comparable merchandise in the form of
             financial statements from more than one Malaysian
             company.




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Appx6901 (emphasis added). Although CAT interprets the Romcarbon financial

statement to reflect significant production of activated carbon in Romania (see

CAT Br. at 22), Commerce arrived at a different conclusion in analyzing the same

financial statement. Specifically, Commerce found that, although Romcarbon’s

profit center no.2 includes an “Active Coal Workshop” dedicated to the production

of activated carbon, its financial statement indicates that its principal activities are

the manufacture of polyethylene, polypropylene, polyvinyl chloride, polystyrene

processing, filters and protective materials. Appx6901 (citing Appx2372-2678).

CAT’s differing interpretation of record evidence does not render Commerce’s

interpretation unsupported by substantial evidence. See, e.g., Qingdao Sea-Line

Trading Co., 766 F.3d at 1385 (“An agency finding may still be supported by

substantial evidence even if two inconsistent conclusions can be drawn from the

evidence.”) (citing cases).

      CAT also contends that Commerce contravened 19 U.S.C. § 1677b(c)(4) in

determining that Malaysia was a significant producer because it had “the maximum

number of companies producing identical merchandise.” CAT Br. at 24 (citing

Appx6901). Commerce made no such finding that Malaysia was a significant

producer because it had “the maximum number of companies producing identical

merchandise.” Rather, Commerce found that Malaysia was a significant producer

based on two findings: “Malaysia is the only net exporter among the OP List


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Countries, and provides more direct evidence of production of identical, and

therefore, comparable merchandise in the form of financial statements from more

than one Malaysian company.” Appx6901.

      CAT further contends that Commerce contravened the trial court’s holding

that made “{s}imilar findings” in Carbon Activated Tianjin Co. v. United States,

503 F. Supp. 3d 1278 (Ct. Int’l Tr. 2021), related to the eleventh administrative

review. CAT Br. at 24-26. That case is distinguishable. In Carbon Activated

Tianjin Co., Commerce failed to adequately explain or support with substantial

evidence its selection of Malaysia and rejection of Romania as the primary

surrogate country. 503 F. Supp. 3d at 1286. Specifically, the trial court found that,

while Commerce stated that it “analyzed exports of comparable merchandise from

the six OP List countries,” the agency failed to explain its analysis or state any

findings. Id. In that case, the trial court also took issue with Commerce’s finding

that “Malaysia provides the best available information . . . because it is the only

country on the OP List that is a significant producer of identical merchandise”

given that Commerce failed to explain why “favor{ing} the production of identical

merchandise when selecting a primary surrogate country . . . comports with the

plain statutory language or constitutes a permissible interpretation thereof.” Id.

(emphasis in the original). In that case, Commerce also failed to explain why it

changed its preliminary finding that Romania was a substantial producer of subject


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merchandise based on net export quantity to a final determination that it was not.

Id. at 1287. In this case, Commerce fully explained its reasoning for selecting

Malaysia as the primary surrogate country, and that rationale did not turn on

Malaysia’s production of identical merchandise. Appx7918-7922.

       Finally, CAT contends that, on remand in the eleventh administrative

review, Commerce reversed itself, and found all OP list countries, including

Romania, to be significant producers; found that Romcarbon’s Profit Center 2, the

“Active Coal Workshop” was dedicated to production of activated carbon; and

found that Romcarbon’s financial statement on the record provided evidence of

domestic production under 19 U.S.C. § 1677b(c)(4). CAT Br. at 26. CAT fails to

explain how Commerce’s findings on that record are relevant to this case given

that “each administrative review is a separate exercise of Commerce’s authority

that allows for different conclusions based on different facts in the record.”

Jiaxing, 822 F.3d at 1299 (quoting Qingdao Sea-Line, 766 F.3d at 1387).

III.   Substantial Evidence Supports Commerce’s Selection Of The Surrogate
       Value s

       In the highly discretionary area of surrogate-value selection, CAT challenges

Commerce’s selection of surrogate financial ratios, the surrogate valuation of four

activated-carbon inputs — carbonized material, coal tar, hydrochloric acid, and

steam, as well as the selection of surrogate ocean freight charges. CAT’s

arguments in favor of alternative datasets are not supported by the record, but
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merely reflect disagreements with Commerce’s lawful exercise of its discretion to

weigh the evidence.

      A.     Substantial Evidence Supports Commerce’s Selection Of
             Surrogate Financial Ratios

      CAT challenges Commerce’s determination to use financial statements from

two Malaysian producers of activated carbon — Century and Bravo Green — to

value financial ratios. CAT Br. at 10-34. As demonstrated below, the record

supports Commerce’s selection.

             1.     The Trial Court Did Not Err In Sustaining Commerce’s
                    Determination

      In a non-market economy antidumping proceeding, Commerce determines

normal value on the basis of factors of production used to produce subject

merchandise valued in a surrogate country or countries. See 19 U.S.C.

§ 1677b(c)(1). After calculating the total value of the factors of production,

Commerce adds “an amount for general expenses and profit plus the cost of

containers, coverings, and other expenses.” Id. Commerce does this by

calculating surrogate financial ratios that it “derives from the financial statements

of one or more companies that produce identical or comparable merchandise,

preferably in the primary surrogate country.” T. T. Int’l v. United States, 439 F.

Supp. 3d 1370, 1382 (Ct. Int’l Trade 2020) (citing Dorbest Ltd. v. United States,

604 F.3d 1363, 1368 (Fed. Cir. 2010)).


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      The administrative record contained four financial statements: two from

Malaysia, one from Romania, and one from Russia. Appx7919-7920 (citing

Appx3708-3790; Appx2372-2678; Appx1550-1565). In sustaining Commerce’s

selection of the Malaysian financial statements, the trial court found that

Commerce compared Romcarbon’s financial statement to those of Century and

Bravo Green. Carbon Activated, 650 F. Supp. 3d at 1364 (citing Appx7920-7922).

The trial court recognized that Commerce had acknowledged that the Malaysian

financial statements were “not as detailed” as Commerce preferred, but that they

“provide{d} sufficient information to calculate surrogate ratios for factory

overhead costs, {selling, general, and administrative} expenses and profit.” Id.

(citing Appx7922). The trial court also found that Commerce had explained that

any lesser detail was outweighed by the fact that Century and Bravo Green’s

principal business activity was the manufacture and sale of subject merchandise;

by Commerce’s preference to use financial statements from the primary surrogate

country; and by Commerce’s preference to use financial statements from a country

with multiple usable financial statements on the record. Id. (citing Appx7921).

Because Commerce adequately explained its selection of Century and Bravo

Green’s financial statements, the trial court concluded that Commerce’s decision

was supported by substantial evidence. Id. at 1364-1365.




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             2.    CAT Fails To Identify Trial Court Error

      CAT raises several challenges to the trial court’s decision sustaining

Commerce’s selection of the Malaysian financial statements over the Romanian

and Russian financial statements. CAT Br. at 19-21, 26-34. These arguments do

nothing more than ask this Court to reweigh the evidence, which is foreclosed by

the standard of review.

      First, CAT contends that Commerce’s determination in this case contains the

same infirmities as Carbon Activated Tianjin Co. v. United States, 586 F. Supp. 3d

1360 (Ct. Int’l Trade 2022), because, there, as here, Commerce declined to

consider the Romcarbon or JSC Sorbent financial statements merely because they

were not from Malaysia, the primary surrogate country. CAT Br. at 19-21. That

case is inapposite because, here, Commerce considered the Romcarbon and JSC

Sorbent financial statements, and rejected them for multiple reasons — not merely

because they were not from Malaysia. In addition to meeting its regulatory

preference for valuing all factors of production in a single surrogate country,

Commerce selected the two Malaysian financial statements because they were

contemporaneous with the period of review, from the only country among the OP

List countries determined to be a significant producer of comparable merchandise,

and reflected the experience of a producer of merchandise identical to the

mandatory respondents. Appx7918-7920. Commerce also explained that the


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Malaysian companies’ financial statements provided sufficient information to

calculate surrogate financial ratios for factory overhead, SG&A expenses, and

profit. Appx7921; Appx6902-6916. Further, Commerce reasoned that use of the

Malaysian financial statements was preferable to use of the financial statements

from Romania and Russia based on Commerce’s preference for using multiple

financial statements. Appx7922.

      Next, CAT challenges Commerce’s reasoning that Romcarbon’s production

experience is not as similar to the mandatory respondents’ production experience

as the production experience of the two Malaysian producers of activated carbon,

Century Chemical and Bravo Green. CAT Br. at 20-21. CAT contends that the

difference in production experience was not related to production of activated

carbon, but related to Romcarbon’s production of other goods, as well. Id. at 21.

CAT’s argument glosses over Commerce’s finding that Romcarbon’s principal

manufacturing activities are unrelated to activated carbon. Appx7920-7921.

Commerce found that, although Romcarbon’s profit center no.2 includes an

“Active Coal Workshop” dedicated to activated-carbon production, its financial

statement otherwise indicates that its principal activities are the manufacture of

polyethylene, polypropylene, polyvinyl chloride, polystyrene processing, filters

and protective materials. Appx7920 (citing Appx2372-2678). Commerce

determined this was not evidence of Romcarbon’s “significant production” of


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activated carbon when compared to the two financial statements from the

Malaysian producers because the principal business activity of the two companies

is the manufacture and sale of activated carbon. Id.

      CAT also contends that Commerce “effectively conceded” that the

Malaysian financial statements were inferior to the Romcarbon and JSC Sorbent

financial statements by previously concluding that Malaysian statements lacked

disaggregation and, thus, lacked “usable financial data.” CAT Br. at 21 (citing

Appx7921). Commerce made no such concession. Commerce’s reference in the

Final Results to a “lack usable financial data” relates to its finding from the

eleventh administrative review — not this one. Appx7921. Related to the twelfth

administrative review, as well as the thirteenth administrative review at issue in

this appeal, Commerce found that, “while the two Malaysian financial statements

are not as detailed as Commerce prefers . . . , these financial statements provide

sufficient information to calculate surrogate ratios for factory overhead costs,

SG&A expenses, and profit.” Id. Commerce also explained that any lesser detail

was outweighed by Century and Bravo Green’s principal business activity, which

was the manufacture and sale of subject merchandise, by Commerce’s preference

to use financial statements from the primary surrogate country, and by

Commerce’s preference to use financial statements from a country with multiple

usable financial statements on the record. Id.


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      In the Final Results, Commerce explained that it has reconsidered its

position related to the disaggregation issue since the eleventh administrative

review. Appx7921. In its eleventh administrative Final Results, Commerce chose

the Romanian financial statements because the Malaysian financial statements

lacked separate line items breaking down the cost of raw materials and energy. Id.

In the twelfth administrative review Final Results, after further consideration,

Commerce determined that, while the Malaysian statements were not as detailed as

Commerce prefers, they provided sufficient information to calculate surrogate

ratios for factory overhead costs, SG&A expenses, and profit. Appx7921-7922.

Commerce further explained that, for this review, it found that the financial

statements on the record from the primary surrogate country, Malaysia, are

superior when compared to other available sources on the record because they

meet Commerce’s surrogate financial statement selection criteria in that they are

complete, publicly available, from manufacturers of identical merchandise, and

provide sufficient information for Commerce to calculate surrogate ratios.

Appx7922.

      CAT further contends that the Malaysian financial statements were

insufficiently disaggregated as compared with the Romanian and Russian

alternatives, thereby contravening the agency’s practice of rejecting insufficiently

disaggregated financial statements that contain basket category cost line items.


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CAT Br. at 26-33. CAT misstates Commerce’s practice. In Weishan Hongda

Aquatic Food Co. v. United States, this Court sustained Commerce’s calculation of

financial ratios using a financial report that did not disaggregate cost categories —

that is, further breakout certain cost categories into itemized expenses. See 917

F.3d 1353, 1368 (Fed. Cir. 2019) (“conclud{ing} Commerce did not err by relying

on the Oceana Report to calculate surrogate financial ratios” despite the Oceana

Report’s failure to “provide disaggregated expenses for raw materials or labor

cost”); see also Certain Fabricated Structural Steel Final Affirmative

Determination of Sales at Less Than Fair Value, 85 Fed. Reg. 5,376 (Dep’t of

Commerce Jan. 30, 2020) and accompanying IDM at cmt. 2 (“Commerce has

previously used financial statements that were not able to break out labor or energy

where there were no other useable financial statements on the record.”).

      CAT asserts that Weishan Hongda is distinguishable from this case,

contending that, there, “Commerce was able to use its normal methodology to

‘calculate appropriate financial ratios,’ despite the Oceana Report’s failure to

‘provide disaggregated expenses for raw materials or labor cost,’ . . . because

Commerce’s manufacturing overhead ratio groups ‘materials, labor, and energy

costs’ in the denominator.” CAT Br. at 29-30 (quoting 917 F.3d at 1368). CAT

contends that “Commerce has not made a similar showing here.” Id. at 30. But

Commerce made a similar finding in this case. Commerce explained that, when it


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is unable to segregate expenses in the calculation of the surrogate financial ratios

that would otherwise be included in the normal value calculation, its practice is to

disregard these expenses in the calculation in order to avoid double-counting costs

which have necessarily been captured in the surrogate financial ratios. Appx6916.

In this review, however, Commerce explained that it did not disregard energy or

labor in the normal value calculation because the two Malaysian financial

statements separate overhead expenses such as depreciation from the rest of the

costs of manufacture — that is, material, labor, and energy expenses. Id.

Commerce further explained that it used the lump sum of material, labor, and

energy expenses as the denominator in its calculation of the surrogate financial

ratios. Id. As a result, Commerce found that it did not double-count energy and

labor expenses when including them in the normal value calculation. Id.; see also

Appx7921 (in the Final Results, rejecting CAT’s disaggregation argument after

finding that the Malaysian financial statements provided sufficient information to

segregate and calculate surrogate ratios for factory overhead costs, SG&A

expenses, and profit). Thus, Weishan is factually analogous.

      Also without merit are CAT’s arguments based on speculation. Specifically,

CAT contends that Commerce allocated the amount reported in Bravo’s basket

category line item, “Operating expenses” solely to SG&A, and that, in Century’s

ratio calculation, Commerce allocated the amount in “Administrative expense” to


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SG&A, even though, absent a breakout of transportation expenses, these line items

“likely” include such ordinarily excludable expenses. CAT Br. at 29. CAT further

contends that “Bravo’s and Century’s potentially distorted overhead and SG&A

ratios, in turn, likely distort the profit calculation.” Id. (emphasis added). These

arguments as to what was “likely” included and “potentially” distortive are based

on nothing more than speculation — not on record evidence — and, accordingly,

should be rejected. See, e.g., Weishan Hongda Aquatic Food Co., 917 F.3d at

1368 (“Regarding an alleged distorted overhead ratio, the Chinese Respondents fail

to explain how the Oceana Report’s failure to break out raw materials causes a

distortion to the overhead ratio.”); Downhole Pipe & Equipment, L.P., 776 F.3d at

1380 (rejecting appellants’ argument that “HTS 7304.59.20 most likely also lacked

entries of drill-pipe green tube” because they “fail to provide any evidence in

support of this proposition”) (emphasis in the original).

      Relying on the tenth and eleventh administrative reviews under this order,

CAT asserts that the use of the Century Chemical and Bravo Green financial

statements “creates risks” that the financials ratios calculated based on those

statements are inaccurate and distorted while the use of the Romcarbon financial

statement “eliminates this risk.” CAT Br. at 33 (citing Appx7633-7634). CAT

fails to provide further explanation or record support for its argument. Thus,

CAT’s argument is based on nothing more than conjecture and, accordingly,


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should be rejected. See, e.g., Weishan Hongda Aquatic Food Co., 917 F.3d at

1368. Further, Commerce’s findings based on different records in previous

administrative reviews are not relevant here. As Commerce explained when

rejecting CAT’s argument, “{e}ach administrative review is a separate exercise of

Commerce’s authority and allows for different conclusions based on different facts

on the record.” Appx7921 (citing Qingdao Sea-Line Trading, 766 F.3d at 1387).

      As an alternative argument, CAT asserts that Commerce should have

selected the Russian JSC financial statement as the “second-best option” for

determining surrogate financial ratios because its disaggregated expense categories

are superior to the insufficiently disaggregated Malaysian financial statements.

CAT Br. at 33-34. In rejecting the Russian JSC financial statement, Commerce

explained that the production experience of JSC — which produces respiratory

protection products and activated carbon and implements water treatment projects

— is dissimilar to that of the respondents. Appx7920 (citing Appx1550-1565,

Appx3714, Appx3776). Commerce also found that it is difficult to ascertain what

portion of JSC’s portfolio relates to the production of activated carbon. Id. CAT

fails to address Commerce’s reasoning.

      In sum, Commerce’s selection of the Malaysian financial statements should

be sustained because it explained the deficiencies of the other financial statements

on the record and provided a reasonable explanation for its selection when faced


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with a choice among flawed financial statements. See CP Kelco US, Inc. v. United

States, 949 F.3d 1348, 1359 (Fed. Cir. 2020) (in “reinstat{ing} Commerce’s

decision to use the Thai Ajinomoto financial statements to calculate the surrogate

financial ratios{,}” holding that “Commerce sufficiently explained its reason for

choosing between two flawed financial statements{ }”); Qingdao Sea-Line Trading

Co., 766 F.3d at 1387-88 (upholding Commerce’s rejection of importer’s preferred

financial statement because Commerce’s selection was reasonable and supported

by substantial evidence); Ad Hoc Shrimp Trade Action Comm. v. United States,

618 F.3d 1316, 1322-1323 (Fed. Cir. 2010) (substantially same).

      B.    Substantial Evidence Supports Commerce’s Selection Of The
            Surrogate Value For Carbonized Material

      To value carbonized material, Commerce selected the Malaysian GTA data

for coconut-shell charcoal classified under HTS 4402.90.1000, applicable to the

previous period of review, and inflated the value to make it contemporaneous

because the Malaysian imports covering the current period of review were only

from a broadly-subsidized economy. Substantial evidence supports Commerce’s

selection of Malaysian GTA data for coconut-shell charcoal as the best available

information on the record to value coal-based carbonized material over CAT’s

preference for using Turkish import data under HTS 4402.90 (“Wood Charcoal”).




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             1.    The Trial Court Did Not Err In Sustaining Commerce’s
                   Determination
      In the Final Results, Commerce valued carbonized materials using the

Malaysian GTA data for coconut-shell charcoal under HTS 4402.90.1000 based on

record evidence demonstrating the similarities between the coal-based carbonized

material consumed by the respondents and coconut shell-based carbonized

material. Appx7925-7926. The trial court held that Commerce provided a

reasoned explanation as to why coconut shell charcoal was a more appropriate

proxy for the coal-based carbonized material used by respondents than wood

charcoal. Carbon Activated Tianjin Co., 650 F. Supp. 3d at 1366 (citing

Appx7925-7926). Specifically, the trial court relied on the record evidence

demonstrating that: (1) “both coconut shell- and coal-based carbonized material are

steam activated{,} whereas wood-based carbonized material is generally

chemically activated,” impacting “the ultimate physical structure of the carbonized

material{;}” and (2) that coconut shell- and coal-based carbonized materials had a

different level of filtration than wood-based activated carbon given that coconut

shell- and coal-based carbonized materials have a “‘substantial’ amount of

micropore surface area,” while wood-based activated carbon has significantly

fewer micropores and consists mostly of mesopores and macropores. Id.

             2.    CAT Fails To Identify Trial Court Error
      Rather than identifying trial court error, CAT’s challenges to Commerce’s

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surrogate value selection for carbonized material are based on nothing more than

disagreement with the weight the agency assigned to the record evidence. See

CAT Br. at 34-43.

      First, CAT contends that Commerce’s selection of Malaysian coconut shell

charcoal data to value carbonized material in this review is beset by the same flaws

that the trial court identified related to the same surrogate value selection in

Carbon Activated Tianjin Co., 586 F. Supp. 3d 1360, related to the twelfth

administrative review. CAT Br. at 35, 40-41. In that case, the trial court took

issue with Commerce’s selection of coconut-shell charcoal to value coal-based

carbonized material based on the agency’s finding that neither mandatory

respondent nor their suppliers purchased carbonized material that was made from

wood or nut charcoal because Commerce did not make an analogous finding as to

whether the mandatory respondents or their suppliers purchased carbonized

material made from coconut shell charcoal. Carbon Activated Tianjin Co., 586 F.

Supp. 3d at 1379. Ultimately, on remand, the trial court sustained Commerce’s use

of import data for coconut-shell charcoal to value carbonized materials. See

Carbon Activated Tianjin Co. v. United States, 633 F. Supp. 3d 1329, 1334-37 (Ct.

Int’l Trade 2023).

      Commerce’s initial reasoning in the twelfth administrative review for

selecting coconut-shell charcoal to value coal-based carbonized material is not


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relevant to this case. Rather, in this case, Commerce provided a reasoned

explanation as to why coconut shell charcoal was a more appropriate surrogate

value for the coal-based carbonized material used by respondents than wood

charcoal. As the trial court observed, Commerce relied on record evidence

demonstrating that “both coconut shell- and coal-based carbonized material are

steam activated{,} whereas wood-based carbonized material is generally

chemically activated,” impacting “the ultimate physical structure of the carbonized

material.” Carbon Activated, 650 F. Supp. 3d at 1366 (citing Appx7925).

Commerce also relied on record evidence demonstrating that coconut shell- and

coal-based carbonized materials had a different level of filtration than wood-based

activated carbon. Id. (citing Appx7926).

      Second, CAT contends that Commerce’s selection of coconut shell charcoal

was unlawful because it was not contemporaneous with the period of review, and

that “the lack of usable contemporaneous data from the principal surrogate country

. . . suggests that this input should be valued using available data from a second

surrogate country.” CAT Br. at 34-35; see also id. at 41-43. Whether surrogate

values are contemporaneous with the period of review is one of the factors that

Commerce considers when selecting the best available information, but it is not a

dispositive factor and, thus, the agency has the discretion to select non-

contemporaneous data. See Qingdao Sea-Line Trading Co., 766 F.3d at 1386


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(sustaining Commerce’s decision to find specificity a more important factor than

contemporaneity); QVD Food Co., 658 F. 3d at 1326 (sustaining Commerce’s

surrogate value selection when the agency chose more reliable data over more

contemporaneous data).

      Commerce properly exercised its discretion to favor specificity over

contemporaneity in selecting a surrogate value based on record evidence showing

that coconut shell charcoal is the most similar to respondents’ coal-based charcoal

and, thus, a more specific surrogate value than the broader category of wood

charcoal under HTS 4402.90. Appx7925-7927; see QVD Food Co., 658 F.3d at

1326 (“{W}e agree with the trial court’s conclusion that Commerce reasonably

reached a different conclusion in different administrative reviews when confronted

with an evolving administrative record, after wrestling with competing

considerations of contemporaneity on the one hand, and quality and reliability on

the other.”) (cleaned up).

      Third, CAT contends that Commerce’s selection of import data for coconut

shell charcoal is anomalous because both mandatory respondents reporting using

“coal-based” carbonized material. CAT Br. at 35 (citing Appx7645). The same

argument would disqualify CAT’s preference for a surrogate value — wood

charcoal under Turkish import data for HTS 4402.90.




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      Fourth, CAT contends that Commerce erroneously valued respondents’ coal-

based carbonized material using import data for coconut shell charcoal because

coal-based carbonized material possesses characteristics that place it “at a

midpoint” between coconut shell charcoal and wood-based charcoal related to

various characteristics; the products produced from each type of charcoal “differ in

uses”; and each type of charcoal has different pore densities. CAT Br. at 35-38.

CAT contends that “{a} more appropriate approach would have been to value the

goods at the six-digit subheading level, 4402.90, since that subheading

encompasses both coconut shell-based and wood-based materials.” Id. at 38. CAT

also contends that “{t}his type of hybrid valuation is compelled by extensive

evidence which shows that coal-based activated carbon shares certain

characteristics which overlap those of both wood and coconut-shell-based

carbonized materials.” Id. Commerce considered these arguments and rejected

them based on record evidence showing the similarities of coal-based carbonized

material to coconut shell-based carbonized material. Appx7925-7926. That CAT

has devised what it deems to be “{a} more appropriate approach” for surrogate-

value selection does not render Commerce’s approach unreasonable or

unsupported by record evidence. See Changzhou Trina Solar Energy Co., Ltd. v.

United States, 975 F.3d 1318, 1332-1333 (Fed. Cir. 2020) (observing that, on

appeal, appellant “proffers the same rejected evidence . . . and ‘invite{s} {us} to


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reweigh {it},’” and holding that “{w}e decline to do so”) (quoting Downhole Pipe,

776 F.3d at 1376).

      Further, Commerce relied on respondents’ own case brief for evidence

establishing similarities in the physical structure and function of coconut shell-

carbonized materials and coal-based carbonized materials as distinguished from

wood-based carbonized materials. Specifically, in their case brief, respondents

relied on an “authoritative source” — Canadian filtration equipment company PS

Filter — in stating that coconut-based activated carbon is effective for filtration

because “up to 90% of the surface area of coconut-based activated carbon consists

of micro pores,” and “{t}hough less efficient than coconut-based activated carbon,

charcoal activated carbon filtration still provides a substantial micro pore surface

area.” Appx7648 (citing Appx4116-4123) (emphasis added). This evidence thus

establishes similarities in the physical structure and function of coconut shell-

carbonized materials and coal-based carbonized materials as distinguished from

wood-based carbonized materials, which “has significantly less micropores and

consists mostly of mesopores and macropores” and is “unsuited for the same level

of filtration.” Appx7926 (citing Appx4074-4082, Appx4116-4123).

      Fifth, CAT contends that this Court’s nonprecedential decision related to the

fourth administrative review, Jacobi Carbons AB v. United States, 619 F. Appx.

992 (Fed. Cir. 2015), compels the selection of wood charcoal under HTS 4402.90.


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CAT Br. at 39-40. Even if it were precedential, CAT misreads the import of that

case. Although recognizing that “{w}ood charcoal is also a type of charcoal and

can also be used to create the subject merchandise{,}” this Court concluded that

“{t}here are no express findings or comparisons between wood charcoal and

coconut shell charcoal, and this record does not establish any such conclusions.”

Jacobi Carbons AB, 619 Fed. Appx. at 999; see also id. (“the record does not

compare coconut shell charcoal and wood charcoal”). That wood charcoal can be

used to produce subject merchandise does not compel that result here because

“each administrative review is a separate exercise of Commerce’s authority that

allows for different conclusions based on different facts in the record.” Qingdao

Sea-Line Trading Co., 766 F.3d at 1387.

      Sixth, CAT contends that price differences between different types of

carbonized materials also favor valuing this input at the six-digit subheading

4402.90 level given that prices for coal-based charcoal overlap prices for wood

based charcoal (at the lower end) and coconut shell charcoal (at the higher end).

CAT Br. at 38. Commerce rejected this argument because “record evidence

ultimately points to the similarities of coal-based carbonized material to coconut

shell-based carbonized material, not wood-based carbonized material.” Appx7925.

      Seventh, in support of its argument that wood charcoal under Turkish HTS

4402.90 is the best available information to value carbonized material, CAT points


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to the flaws in the contemporaneous Malaysian HTS 4402.90.9000 imports. CAT

Br. at 41-42. But Commerce selected Malaysian HTS 4402.90.9000 from the

previous period of review, and Commerce has the discretion to select non-

contemporaneous data if it determines another factor is entitled to more weight.

Appx7927; see also, e.g., Qingdao Sea-Line Trading Co., 766 F.3d at 1386

(sustaining Commerce’s decision to find specificity a more important factor than

contemporaneity). Commerce also relied on its regulatory preference under 19

C.F.R. § 351.408(c)(2) to value all factors of production in a single surrogate

country, resorting to a secondary surrogate country only if data from the primary

surrogate country are unavailable or unreliable. Appx7927. On this record,

Commerce had selected Malaysia as the primary surrogate country and found that

the import data from the previous administrative review for coconut shell-based

carbonized material is reliable and is most similar to the coal-based carbonized

material used by the respondents in the production of activated carbon. Id. As a

result, Commerce found that it had no reason to resort to a secondary surrogate

country to value carbonized material. Id.

      Eighth, CAT contends that Malaysian import data for coconut-shell charcoal

is not representative of a broad market average based on import activity, “most of

which did not appear to be sold at commercial levels.” CAT Br. at 42 (citing

Appx7656). CAT fails to provide any support for this claim or explain why import


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activity establishes that the data does not reflect a broad market average. Relying

on Calgon Carbon Corp. v. United States, No. 14-00326, 2017 WL 384685 (Ct.

Int’l Tr. Jan. 27, 2017), CAT contends that, in such cases, Commerce’s practice

has been to look to data from another identified surrogate country to value the

input, and that, on this record, Turkey has the highest import volume of carbonized

materials during the period of review. Id. (citing Appx7659-7660). Calgon

Carbon is inapposite because, there, Commerce was employing a “tie-breaking

selection methodology based on import volume to select between equally reliable

{surrogate value} data sources.” 2017 WL 384685, at *2.

      Finally, CAT contends that “the {Malaysian} data’s accuracy and reliability

is suspect{ }” because the average import price for wood-based charcoal is up to

five times higher than the prices at which the same material is available

domestically. CAT Br. at 42 (citing Appx7657). There are many factors that may

impact domestic prices, and CAT fails to provide evidentiary support for the

assertion that the Malaysian import data here is an outlier. See, e.g., Ancientree

Cabinet Co., 532 F. Supp. 3d at 1254 (explaining that when there is insufficient

evidence to determine certain data aberrational or unreliable, Commerce has no

basis for rejecting the data).




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      C.     Substantial Evidence Supports Commerce’s Selection Of The
             Surrogate Value For Coal Tar

      CAT challenges Commerce’s selection of the surrogate value for coal tar.

CAT Br. at 43-48. These arguments do no more than ask this Court to reweigh the

evidence, engage in speculation, or disregard Commerce’s practice for determining

when surrogate values are aberrational.

             1.     The Trial Court Did Not Err In Sustaining Commerce’s
                    Selection Of Malaysian HTS 2706.00 To Value Coal Tar
      In the Final Results, Commerce lawfully determined that the Malaysian

GTA import data under HTS 2706.00 (Mineral Tars, Including Reconstituted Tars)

are the best available information on the record to value coal tar based on publicly

available data and the agency’s regulatory preference to value all factors of

production in a single surrogate country. Appx7913, Appx7915. The trial court

found that Commerce supported its selection with substantial evidence, and that

CAT and the other mandatory respondent failed to identify record support for their

arguments that the Malaysian import data were aberrant. Carbon Activated Tianjin

Co., 650 F. Supp. 3d at 1368-69. CAT raises several challenges to the reliability of

that data, all of which lack merit.

      First, CAT contends that the coal tar average unit value (AUV) from

Malaysian HTS 2706.00 was unreliable because it significantly exceeded the AUV

of the value-added product, pitch, reported in Malaysian HTS 2708.10. CAT Br. at


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43-44. 2 CAT’s value-added argument is dependent on the factual premise that

“{o}ne would reasonably expect a value-added product like ‘pitch’ to have an

AUV higher than a ‘coal tar’ product because that product is not subject to further

value-added manufacturing operations.” Id. at 44. As Commerce explained, even

if it were true that the AUV of pitch should be higher, which CAT failed to

establish, the fact that coal tar pitch has a lower AUV does not necessarily mean

that both values are tainted. Appx7913-7914. This is so because there may be

factors involved with pricing apart from the cost of manufacturing that impact a

product’s value and may cause a product that is less “value-added” like coal tar to

be more expensive than another product. Id. CAT takes issue with Commerce’s

finding, arguing that “{s}ubstantial evidence supporting this portion of

{Commerce’s} determination is absent from the record.” CAT Br. at 44.

      But it was CAT’s responsibility — not Commerce’s — to build the factual

record supporting CAT’s value-added argument. See, e.g., Nan Ya Plastics Corp.,

810 F.3d at 1338 (“The burden of creating an adequate record lies with interested

parties and not with Commerce{.}”); QVD Food Co., 658 F.3d at 1324 (holding

that importer “is in an awkward position to argue that Commerce abused its



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        “The average unit value for an input is calculated as the total sum of
import values (i.e., the total dollar value of all inputs) divided by the total sum of
import quantities.” SolarWorld Americas, Inc. v. United States, 962 F.3d 1351,
1359 (Fed. Cir. 2020).
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discretion by not relying on evidence that {the importer} itself failed to introduce

into the record”).

      CAT contends that Commerce unlawfully selected Malaysian HTS 2706.00

import data to value coal tar and Malaysian HTS 2708.10 to value coal tar pitch

due to the “{s}tark disparities . . . between the domestic market and Malaysian

import prices for both Malaysia and Spain.” See CAT Br. at 44-46. As Commerce

explained, the mandatory respondents’ usage of Spanish data to reinforce their

allegation of an unusual pricing trend between coal tar and pitch imports into

Malaysia suffers from this same deficiency as their value-added argument.

Appx7913-7914. Although the mandatory respondents compared the import and

export values of HTS 2706.00 in Spain to demonstrate an AUV only one third the

size of that in Malaysia, they failed to provide specific evidence to explain why

this pattern — of Spanish imports into Malaysia under HTS 2706.00 priced higher

than those under HTS 2708.10 — is occurring and thereby renders Malaysian HTS

2706.00 unreliable. Id. Thus, CAT again fails to provide specific evidence

supporting its claims. See, e.g., QVD Food Co., 658 F.3d at 1324. Likewise,

CAT’s contention that distortion was “likely” caused by coal tar and pitch being

conflated with one another, and consequently entered under incorrect HTS

subheadings (CAT Br. at 44) is based on speculation, not evidence.




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      Further, Commerce explained why it was unable to determine that the AUV

for Malaysian HTS 2706.00 was aberrant. To evaluate whether a value is

aberrational, Commerce prefers to have historical data on the record. Appx7914.

Because Commerce did not have data from the same HTS category for the primary

surrogate country over multiple years on the record, the agency was unable to

evaluate the aberrancy of the Malaysian data in comparison to historical Malaysian

coal tar values. Id. Again, “the burden of creating an adequate record lies with

{interested parties} and not with Commerce{.}” QVD Food Co., 658 F.3d at 1324.

            2.     Commerce Lawfully Rejected Malaysian Domestic Prices
                   To Value Coal Tar
      CAT contends that substantial evidence on the record supports the use of

Malaysian domestic prices of coal tar. CAT Br. at 46. CAT relies on the

Malaysian domestic price in the Global Coal Tar and Coal Tar Pitch Market

Analysis & Forecast 2017-2027, which it contends provides reliable surrogate

value data. Id. CAT’s argument is unsupported by the record.

      In the Final Results, Commerce rejected CAT’s reliance on Malaysian

domestic prices because the agency did not have publicly available domestic prices

on the record to use as a comparison with import AUVs. Appx7914. Further,

Commerce found that it could not rely on the Global Coal Tar and Coal Tar Pitch

Market Analysis & Forecast 2017-2027 because that publication did not explain

the methodology used to obtain the prices it reports and, as a result, Commerce

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was unable to confirm their validity. Id. Commerce also relied on its preference to

select surrogate values that are representative of a broad market average and tax-

and duty-exclusive. Id. Due to its inability to confirm the validity of the domestic

prices, Commerce was unable to determine how representative the prices were of a

broad market average or if they are tax- and duty-exclusive. Id. (citing Appx4897-

5178). Thus, because it was unclear whether the domestic prices for coal tar from

this private market report were based on broad market averages or is tax- and duty-

exclusive, Commerce could not accept it as a viable alternative to the surrogate

value for Malaysian HTS 2706.00. Id.

      CAT contends that Hebei Metals Inc. v. United States, 29 C.I.T. 288, 300

(2005), compels a different result because, in that case, the trial court confirmed

the preference for domestic prices as a source of surrogate value data. CAT Br. at

46-47. Hebei Metals actually supports the lawfulness of Commerce’s reasoning

because, in that case, the trial court held that “the conditional preference for

domestic data” requires data from a “market economy country from which taxes,

duties, and other governmental interference have been excluded{.}” 29 C.I.T. at

300. As discussed above, Commerce was unable to determine whether the

domestic prices in the private market report met this requirement. Appx7914.




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             3.    Commerce Lawfully Rejected Russian HTS 2706.00 To
                   Value Coal Tar

      Alternatively, CAT contends that Russian HTS 2706.00 constitutes the best

information available to value coal tar. CAT Br. at 47-48. Commerce lawfully

concluded that CAT’s reliance on Russian import data was flawed because that

data comes from the same private market report that CAT used to establish

Malaysian domestic prices. Appx7914. Because that private market report does

not explain how it obtained the reported prices or if those prices are tax- and duty-

exclusive, Commerce was unable to confirm how representative the Russian prices

are of a broad market average or if they are tax- and duty-exclusive. Id.

Commerce also relied on its regulatory preference for continuing to select import

data from the primary surrogate country. Id. Again, in light of Commerce’s

discretion to prefer publicly-available and tax- and duty-exclusive information and

its regulatory preference for selecting data from the primary surrogate country,

CAT fails to explain why Commerce’s determination was unlawful.

      D.     Substantial Evidence Supports Commerce’s Selection Of The
             Surrogate Value For Hydrochloric Acid

      Commerce lawfully determined that Malaysian data under HTS 2806.10

(hydrogen chloride (hydrochloric acid)) are the best available information on the

record to value respondents’ hydrochloric acid (or HCl) input because they are

contemporaneous with the period of review, publicly available, product-specific,

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tax-exclusive, and representative of a broad market average. Appx7932-7933.

Moreover, reliance on the Malaysian data accords with Commerce’s regulatory

preference to value all factors of production from a single surrogate country.

Appx7932.

      CAT asserts that the Malaysian data is not sufficiently specific to

respondents’ HCl inputs because the Malaysian data provides only a single HTS

classification covering both forms of HCl: “(1) anhydrous or liquid form (without

added water); and (2) aqueous solution (with added water).” CAT Br. at 48-50.

CAT contends that respondents’ input, in contrast, is HCl in only aqueous form.

Id. Commerce found, however, that CAT and the other respondent had failed to

substantiate their assertion that their HCl inputs were, in fact, in an aqueous state.

Appx7933 (citing Appx4048-4051). As Commerce explained, “contrary to the

mandatory respondents’ assertion,” “the evidence on the record only demonstrates

the purity level of HCl that {CAT} purchased for a portion of the total quantity of

HCl used in production.” Id. Commerce concluded that this information, standing

alone, did not indicate whether the HCl that the mandatory respondents consumed

during the period of review was in an aqueous state. Id. CAT simply ignores the

rationale provided by Commerce.

      Further, in the immediately prior review, the trial court came to the same

conclusion related to CAT’s showing, holding that the “evidence was insufficient


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to clearly define the HCl on the record as aqueous hydrochloric acid or to depart

from the Malaysian basket category in favor of the narrower Brazilian { } aqueous

HCl data.” Carbon Activated Tianjin Co., 586 F. Supp. 3d at 1373-74. CAT fails

to address the trial court’s 2022 decision, instead directing the Court to a 2008

Commerce decision. CAT Br. at 50 (citing Helical Spring Lock Washers from the

People’s Republic of China, 73 Fed. Reg. 4,175 (Dep’t of Commerce Jan. 15,

2008), and accompanying IDM at cmt. 4)). But the 2008 administrative decision

does not address the germane issue — CAT’s failure to point to record evidence

showing that the HCl it consumed during the period of review was in an aqueous

state.

         CAT also contends that Commerce unlawfully rejected Brazilian 2806.10.20

because it affords product-specific import data to value the specific grade of HC1

used by the respondent — aqueous HCl — and is representative of a broad market

average. CAT Br. at 50-52. Commerce provided several other reasons for

rejecting Brazilian 2806.10.20. As discussed above, Commerce found that there

was no evidence on the record demonstrating that respondents used an aqueous

solution of HC1. Appx7932. Commerce rejected the evidence provided by CAT

— a publication by PubChem, a public chemistry database, as well as a safety

datasheet pertaining to HCl produced by Woodman Hill Ltd. — because “{t}he

mandatory respondents did not connect this record evidence to support their claim


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that Malaysian HTS 2806.10 is not product-specific nor does the record

demonstrate a difference in purity levels between the Malaysian and Brazilian

import data.” Appx7933 (citing Appx1623-1697, Appx1698-1702). Commerce

also observed that the Brazilian import data are reported on a free on board (FOB)

basis while the Malaysian HTS 2806.10 data on the record was reported on the

cost, insurance, and freight (CIF) basis preferred by Commerce. Appx7932. CAT

fails to address — let alone rebut — Commerce’s rationale.

      E.     Substantial Evidence Supports Commerce’s Selection Of The
             Surrogate Value For Steam

      Commerce determined that Malaysian data under HTS 2711.11 (liquefied

natural gas) was the best available information on the record to value steam

because this data was publicly available, and its selection was consistent with the

agency’s regulatory preference to value, when possible, all of the factors of

production from a single surrogate country. Appx7935.

      Although recognizing that the record contained import data under both HTS

2711.11 and HTS 2711.21 from the primary surrogate country that are publicly

available and tax- and duty-exclusive, Commerce found that the Malaysian import

data under HTS 2711.11 was the more appropriate source to value the steam input

because the data represent a significantly larger volume of imports (2,876,439,699

kg) from multiple countries (Singapore, Brunei, and Australia), covering nearly the

entirety of the period of review. Appx7936-7937 (citing Appx3686-3692,
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Appx3930-3981; Appx1804-1811). The import data under HTS 2711.21 represent

a smaller volume of imports (872,136.95 kg) from only one country (Brunei)

covering only two months of the period of review. Id. Because Malaysian HTS

2711.11 represents a broader market average and a larger import volume than

Malaysian HTS 2711.21, Commerce determined that Malaysian HTS 2711.11 is

the best available information to value steam. Appx7937.

      CAT raises several challenges to Commerce’s surrogate value selection for

steam (see CAT Br. at 52-56), all of which fail to address Commerce’s rationale let

alone why it was unsupported by substantial evidence. First, relying on a

dictionary definition of “steam” from its case brief before Commerce, CAT

contends that Malaysian HTS 2711.11 is not specific to steam because it is data for

liquefied natural gas whereas respondents “reported the use of steam, in a gaseous

form defined as ‘water in the form of an invisible gas of vapor’ to Commerce.”

CAT Br. at 53 (citing Appx7676 (quoting DICTIONARY.COM (“steam”)).

However, the dictionary definition of “steam” is an inadequate source for

definitively establishing whether the “steam” reported by respondents on this

record is more appropriately classified as natural gas in liquid form or in a gaseous

state. “Steam” would appear to straddle the line between liquid and gas, depending

on its particular state at a given moment. Dictionary.com defines “steam” as

“water in the form of an invisible gas or vapor{,}” but also defines the term as


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“water changed to this form by boiling{.}” See “Steam,” Dictionary.com,

https://www.dictionary.com/browse/steam (last visited March 12, 2024).

      Moreover, in sustaining Commerce’s surrogate-value section, the trial court

observed that, related to the twelfth administrative review, it “ha{d} previously

rejected the argument that Commerce may not select liquefied natural gas as a

surrogate because it is not ‘specific’ to steam, noting that ‘the energy source input

need not be in the same phase (solid, liquid, gaseous) as the steam the energy

creates.” Carbon Activated Tianjin Co., Ltd., 650 F. Supp. 3d at 1372 (quoting

Carbon Activated, 586 F. Supp. 3d at 1377). The trial court further observed that

CAT’s “argument is no more developed in this case than it was in {the twelfth

administrative review}, and the court remains unconvinced.” Id.

      Further, respondents may have reported “steam” on the record, but they

failed to place on the record such other information as would have required

Commerce to then value that steam under the HTS subheading for natural gas in its

gaseous state rather than its liquid state. Appx7935-7936. As with many of the

other inputs, Commerce was within its discretion to choose from imperfect

datasets. See, e.g., Fine Furniture (Shanghai) Ltd. v. United States, 353 F. Supp.

3d 1323, 1348 (Ct. Int’l Trade 2018) (holding that when “there is nothing on the

record regarding the specific composition {of an input}. . . any claims of greater

specificity of the HTS subheadings that can be applied to them are immaterial”);


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Zenith Elecs. Corp. v. United States, 988 F.2d 1573, 1583 (Fed. Cir. 1993) (“The

burden of production should belong to the party in possession of the necessary

information.”).

      Next, relying on Yantai Oriental Juice Co. v. United States, 26 C.I.T. 605,

617 (2002), CAT contends that “Commerce nowhere explains how the use of

seemingly more expensive imported . . . data is the best available information

establishing the actual costs incurred by . . . producers” — specifically, why

liquified natural gas is an appropriate substitute over natural gas in the gaseous

state. CAT Br. at 53-54. As the trial court explained in distinguishing that case,

“{i}n Yantai Oriental, “Commerce nowhere explain{ed} how the use of seemingly

more expensive imported coal data {was} the best available information,” 26

C.I.T. at 617, whereas here, Commerce explained that the domestic natural gas

prices identified by Respondents were unreliable and did not represent the best

available Information{.}” Carbon Activated Tianjin Co., 650 F. Supp. 3d at 1372

(citing Appx7936). The trial court also observed that, as in the previous

administrative review, in this one, “Commerce was unable to establish the

underlying methodology Respondents used to derive and collect domestic natural

gas prices.” Id.

      CAT also contends that Malaysian HTS 2711.11 import data are unreliable

because natural gas domestic prices in Malaysia are significantly lower than the


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$US0.53/kg AUV from Malaysian HTS 2711.11 import data for liquified natural

gas used as a basis to value respondents’ steam. CAT Br. at 54-55. Commerce

rejected CAT’s reliance on this data because the agency was unable to establish the

underlying methodology used by the respondents to derive or collect the domestic

prices; the respondents merely placed a table with alternative prices on the record

without providing the source of that data, and respondents failed to explain how

those prices were determined. Appx7936 (citing Appx5409). In the immediately

preceding administrative review, the trial court upheld Commerce’s concern with

respondents’ failure to provide the underlying methodology used to derive the

domestic prices. See Carbon Activated Tianjin Co., 586 F. Supp. 3d at 1377 (“The

agency also noted that the domestic price data, which Respondents used to argue

that the HS 2711.11 data were unreliable, were themselves of undetermined

reliability because Respondents had not provided Commerce with the

underlying methodology used to derive those prices.”).

      Further, Commerce found that, while the respondents identified six sources

of data for domestic Malaysian natural gas prices, only two of the prices were

partially within the period of review. Appx7936 (citing Appx5408-5410). Of

these data, one is the price for residential use (0.327 USD/kg) and the other is for

commercial use (0.413 USD/kg). Id. These data only cover three months of the

period of review, and do not represent a broad market average because the data are


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price quotes from one company with an unclear geographic scope. Id. Because of

these deficiencies, Commerce found that the domestic Malaysian natural gas data

do not represent the best available information and do not demonstrate that the

import data under HTS 2711.11 are unreliable. Id. Unlike the domestic prices

relied on by the respondents, the GTA data Commerce used were clearly identified

and the method for deriving those prices is available on the GTA website. Id.

Again, CAT fails to explain why Commerce’s determination is unreasonable or

unsupported by record evidence.

      Finally, CAT asserts that Commerce failed to address its argument that

“{t}he Malaysian price is corroborated by record evidence of Mexican natural gas

prices{,}” which show that “Mexico had the largest natural gas imports of the OP

List countries at an AUV of 0.109 USD/kg which is consistent with average

Mexican domestic natural gas prices at 0.157 USD/kg.” CAT Br. at 55 (citing

Appx7934). Commerce considered the Mexican natural gas prices, which were

included in a table respondents placed on the record. Appx5904. Commerce

found that “the mandatory respondents merely placed a table with alternative

prices on the record without providing the source of that data and they did not

establish how those prices were determined.” Appx 7934 (citing Appx5904).

Commerce found that it could not establish what underlying methodology was

used by the mandatory respondents to derive or collect the domestic prices set forth


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in the table. Id. Again, unlike the data relied upon by CAT, the GTA data that

Commerce used were clearly identified and the method of deriving those prices

was available on the GTA website. Id.

      F.     Substantial Evidence Supports Commerce’s Selection Of The
             Surrogate Value For Ocean Freight

      As potential surrogate values for ocean freight, the parties placed on the

record data from Maersk and Descartes. Appx7929. Commerce determined that

the data from Maersk represented the best available information to value freight

expenses because that data represented freight tariffs covering the entire 12-month

period of review and various routings. Id. Unlike the Maersk data, Commerce

found that the Descartes data cover only a part of the period of review for each

route presented. Appx7930 (citing Appx2096-2097). Commerce also found that

the Descartes data contain ocean freight charges that are estimates. Id. (citing

Appx2098-2130). In contrast, Commerce found that the Maersk rates represent

actual tariffs, not mere approximations. Id. (citing Appx3808-3929). Thus,

Commerce found that the Maersk data are preferable to the Descartes data for use

in valuing the mandatory respondents’ ocean freight expenses.

      CAT challenges Commerce’s findings, but fails to demonstrate that they are

unsupported by substantial evidence. See CAT Br. at 56-59. First, CAT contends

that the Maersk data is unreliable because they are based on quotes rather than

actual shipments, and the price quotes from Maersk are “generated through online
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research by inputting various unknown shipment parameters{,}” and do not

represent actual tariffs. CAT Br. at 56-58 (citing Appx7680). But the Maersk data

state that “tariff rates have been applied.” Appx3808-3929. The trial court found

that the inclusion of the language “tariff rates have been applied” was not

inconsistent with Commerce’s acceptance of the Maersk data as based on actual

transactions. Carbon Activated Tianjin Co., 650 F. Supp. 3d at 1373.

      Also without merit is CAT’s contention that the Maersk data are unreliable

because the prices remained static over the period of review. CAT Br. at 58.

CAT’s argument is based on nothing more than assumptions about the pattern of

prices on the record. As the trial court observed, CAT “assumes that ocean freight

prices fluctuate frequently throughout the year but fails to support that assertion

with evidence.” Carbon Activated Tianjin Co., 650 F. Supp. 3d at 1373. Such

arguments do nothing to undermine Commerce’s determination that the Maersk

data are reliable.

      Finally, CAT contends that the Descartes data is the best available

information on the record because it contains ocean freight charges that represent

actual transactions. CAT Br. at 58-59. As discussed above, Commerce disagreed

with CAT’s assessment, finding that the Descartes data contain ocean freight

charges that are estimates and cover only a part of the period of review for each

route presented. Appx7930 (citing Appx2098-2130, Appx2096-2097).


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      Faced with imperfect alternatives for its surrogate-value selections,

Commerce acted within its statutory discretion in selecting among these

alternatives and provided a reasoned explanation for its selection. CAT’s

contentions do not demonstrate that Commerce’s determinations are unsupported

by substantial evidence. Rather, CAT does no more than impermissibly ask this

Court to “reweigh the evidence already considered by Commerce.” SolarWorld

Americas, Inc. v. United States, 910 F.3d 1216, 1225 (Fed. Cir. 2018).

                                 CONCLUSION

      For these reasons, we respectfully request that the Court affirm the judgment

of the Court of International Trade.

                                           Respectfully submitted,

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               CERTIFICATE PURSUANT TO RULE 32(A)(7)(C)

      I, Antonia R. Soares, a trial attorney in the Department of Justice, Civil

Division, Commercial Litigation Branch, certify that this brief, which used Times

New Roman font with 14 point type, contains 13,955 (relying upon the Microsoft

Word word count feature of the word processing program used to prepare this

principal brief) and complies with the type-volume limitation contained in Rule

32(a)(7)(B).




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                           CERTIFICATE OF SERVICE

      I hereby certify under penalty of perjury that, on this 18th day of March,

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